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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

 3G LICENSING, S.A., KONINKLIJKE                 )
 KPN N.V., and ORANGE S.A,                       )
                                                 )
                Plaintiffs,                      )
                                                 )
        v.                                       )          C.A. No. 17-083-LPS-CJB
                                                 )
 HTC CORPORATION and HTC                         )
 AMERICA INC.,                                   )
                                                 )
                Defendants.                      )

   DEFENDANTS’ MOTION TO DISMISS OR IN THE ALTERNATIVE TRANSFER
           BASED ON IMPROPER VENUE AND CONVENIENCE

       Defendants HTC Corporation (“HTC Corp.”) and HTC America, Inc. (“HTC America”)

(collectively “Defendants”) hereby move to dismiss for improper venue as to both defendants and

for lack of personal jurisdiction as to HTC Corp.

       Alternatively, defendants move to transfer to the Western District of Washington under

28 U.S.C. § 1406(a) and/or § 1404(a).

       Pursuant to Local Rule 7.1.1, Defendants certify that a reasonable effort has been made to

reach agreement with plaintiffs on the matters set forth in the motion.


                                             /s/ John W. Shaw
OF COUNSEL:                                  John W. Shaw (No. 3362)
Yar R. Chaikovsky                            Jeffrey T. Castellano (No. 4837)
Philip Ou                                    SHAW KELLER LLP
Jonas P. Herrell                             I.M. Pei Building
PAUL HASTINGS LLP                            1105 North Market Street, 12th Floor
1117 S. California Avenue                    Wilmington, DE 19801
Palo Alto, CA 94304                          (302) 298-0700
(650) 320-1832                               jshaw@shawkeller.com
                                             jcastellano@shawkeller.com
Dated: June 27, 2017                         Attorneys for Defendants
